THE LAW OFFICE OF BRIAN T. STAPLETON, ESQ.
75 SOUTH BROADWAY – 4th FLOOR                                       o: (914) 770-7402
WHITE PLAINS, NY 10601                                              f: (914) 517-5980
                                                                    c: (914) 623-3024
                                                                    brian.t.stapleton@gmail.com

                                     March 16, 2020

          APPLICATION FOR ISSUANCE OF DEFAULT JUDGMENT

Via ECF Filing

The Hon. Sandra J. Feuerstein
United States District Court for the Eastern District of New York
100 Federal Plaza
Central Islip, NY 11722

       In Re: Carl Semencic v County of Nassau, et al.
              Case No.: 2:18-cv-05244-SJF-AKT

Your Honor:

       This office represents the Plaintiff Carl Semencic in the above-referenced case.

       On Wednesday, February 4, 2020 Your Honor ordered co-defendants the County
of Nassau, the Nassau County Police Department and NCPD Commissioner Patrick J.
Ryan to return to Mr. Semencic within thirty (30) days all of the firearms seized from his
home by their employees on July 19, 2016. Pursuant to your Order, these co-defendants
were required to return Mr. Semencic’s firearms to him by no later than Thursday, March
5, 2020.

        On Wednesday, March 11, 2020, upon learning that these co-defendants had
willfully violated your Order, you granted my motion to strike their Answer and, further,
you granted my motion for entry of default against them. On Friday, March 13, 2020,
Your Honor issued a Minute Entry directing this office to submit a proposed judgment to
the Court.

      Accordingly, please consider this letter an Application for Issuance of Default
Judgment made pursuant to Fed. R. Civ. P. 55(b)(2) and Loc. Civ. R. 55.2(b).

        A Proposed Default Judgment is being submitted herewith, as is the Affirmation
of Brian T. Stapleton, Esq., dated March 16, 2020 (with attached exhibits). This
Affirmation and the exhibits attached thereto explain and detail the damages due to the
Plaintiff against the Defaulted Defendants.
The Hon. Sandra J. Feuerstein
March 16, 2020
Page 2 of 2


       Since default has been entered by the Court following its’ striking of the
Defaulted Defendants’ Answer, the requirements of Fed. R. Civ. P. 55(a) and Loc. Civ.
R. 55.1 (i.e., that a Certificate of Default must be entered by the Clerk of Court before a
Default Judgment can be entered this Court) are inapplicable to the instant proceeding.
Accordingly, Plaintiff respectfully requests that the Court waive these requirements in the
Default Judgment to be issued here.

         Thank you very much for your consideration.

                                        Respectfully Submitted,

                            The Law Office of Brian T. Stapleton, Esq.


                                   Brian T. Stapleton
                                     By: Brian T. Stapleton, Esq.




BTS/ma
encl.
cc:
Mr. Ralph Reissman, Esq.
via email to rreissman@nassaucountyny.gov
Mr. Stephen Carlin, Esq.
via email to scarlin@nassaucountyny.gov
